 1                                                                                Hon. Richard A. Jones

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 7                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 8                                          AT SEATTLE

 9   ABHIJIT BAGAL,

10                          Plaintiff,                   No.   2:23-cv-00721-RAJ

11                  vs.
                                                         DECLARATION OF
12   KSHAMA SAWANT, in her official and                  KERALA T. COWART IN SUPPORT OF
     individual capacities, as Councilmember,            DEFENDANTS’ MOTION TO DISMISS
13   Position 3, Seattle City Council; LISA
     HERBOLD, in her official and individual
14   capacities, as Councilmember, District 1, of the
     Seattle City Council and BRUCE HARRELL,
15   in his official and individual capacities, as the
     Mayor of the City of Seattle,
16
                                      Defendants.
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19          I, KERALA T. COWART, being familiar with the facts set forth herein based on my personal

20   knowledge, and being competent to testify, hereby declare under penalty of perjury that the

21   following is true and correct:

22          1. I am an Assistant City Attorney representing Defendants in the above-captioned matter.

23          2. Attached as Exhibit A is a true and correct copy of the City of Seattle’s Anti Caste


      DECLARATION OF KERALA T. COWART IN SUPPORT OF                                    Ann Davison
                                                                                       Seattle City Attorney
      DEFENDANTS’ MOTION TO DISMISS - 1                                                701 5th Avenue, Suite 2050
      2:23-cv-00017 MJP TLF                                                            Seattle, WA 98104-7095
                                                                                       (206) 684-8200
 1               Discrimination Ordinance, Ordinance No. 126767.

 2           3. On July 21, 2023, I met and conferred by phone with the Plaintiff, pro se, in this matter, Mr.

 3               Abhijit Bagal. I described the Court’s meet-and-confer requirement. I described the legal

 4               bases for Defendants’ motion. I described the concept of standing (is the plaintiff the proper

 5               party to bring the lawsuit) and the substance of Defendants’ standing argument. I also

 6               described the Defendants’ substantive legal arguments as to Mr. Bagal’s Fourteenth and

 7               First Amendment claims and the standard to move for dismissal for failure to state a claim.

 8               Mr. Bagal indicated that he does not consent to the Defendants’ motion to dismiss and stated

 9               that he wants to proceed with this lawsuit.

10
     I declare under penalty of perjury that the foregoing is true and correct.
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             DATED this 25th day of July, 2023 at Seattle, King County, Washington.
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13
                                             /s Kerala T. Cowart___________________
14                                           KERALA T. COWART

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      DECLARATION OF KERALA T. COWART IN SUPPORT OF                                          Ann Davison
                                                                                             Seattle City Attorney
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